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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

  In re:
                                                   Case No. 20-10343 (LSS)
  BOY SCOUTS OF AMERICA AND
  DELAWARE BSA, LLC,                               Chapter 11
                                                   (Jointly Administered)
                 Debtors.
                                                   RE: D.I. 11532

                                                   Hearing Date: November 20, 2023, at 10:00 am (ET)
                                                   Objection Deadline: November 13, 2023 at 4:00 pm (ET)

    NOTICE OF MOTION TO CHANGE ELECTION TO OPT INTO EXPEDITED
     PAYMENT/CONVENIENCE CLASS OR OTHER NECESSARY RELIEF ON
                BEHALF OF SURVIVOR CLAIMANT D.S.

       PLEASE TAKE NOTICE that on October 11, 2023, D.S. (the “Movant”), by and through

undersigned counsel filed the Motion To Change Election To Opt Into Expedited

Payment/Convenience Class Or Other Necessary Relief On Behalf Of Survivor Claimant D.S. (the

“Motion”) [D.I. 11532] with the United States Bankruptcy Court for the District of Delaware (the

“Court”).

       PLEASE TAKE FURTHER NOTICE that if you oppose the Motion or if you want the

court to consider your views regarding the Motion, you must file a written response with the Court

detailing your objection or response by November 13, 2023, at 4:00 p.m. (ET). You must also

serve a copy of your response upon undersigned counsel.

       PLEASE TAKE FURTHER NOTICE that the hearing on the Motion will be held on

November 20, 2023, at 10:00 am (ET) before the Honorable Laurie Selber Silverstein, United

States Bankruptcy Court located at 824 N. Market Street, Wilmington, Delaware 19801, 6th Floor,

Courtroom 2.
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    IF YOU DO NOT TAKE THESE STEPS BY THE DEADLINE, THE COURT MAY
DECIDE THAT YOU DO NOT OPPOSE THE RELIEF SOUGHT IN THE MOTION
AND MAY GRANT OR OTHERWISE DISPOSE OF THE MOTION BEFORE THE
SCHEDULED HEARING DATE.

Dated: November 6, 2023                       GELLERT SCALI BUSENKELL &
                                              BROWN LLC

                                              /s/ Charles J. Brown, III
                                              Charles J. Brown, III (DE 3368)
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